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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

AIR CANADA AND AEROPLAN INC., _C.A, No. 23-1177-GBW
Plaintiffs,
V.
LOCALHOST LLC,

Defendant.

DECLARATION OF JONATHAN J. FAGAN IN SUPPORT OF PLAINTIFFS’
MOTION FOR PRELIMINARY INJUNCTION

I, Jonathan J. Fagan, declare as follows:

1. I am an attorney with the law firm Finnegan, Henderson, Farabow, Garrett &
Dunner, LLP, co-counsel for Plaintiffs Air Canada and Aeroplan Inc. in this action, and I have
personal knowledge of the statements contained within this declaration.

2. Attached hereto as Exhibit 9 is a true and correct copy of a screenshot taken from
a forum on the website flyertalk.com.

2. Attached hereto as Exhibit 10 is a true and correct copy of a screenshot taken
from a forum on the website flyertalk.com.

4, Attached hereto as Exhibit 11 is a true and correct copy of screenshots taken from
a forum on the website Discord.com called “Seats.aero Community.”

5. Attached hereto as Exhibit 12 is a true and correct copy of a December 9, 2023,
post on X by Ian Carroll.

6. Attached hereto as Exhibit 13 consists of true and correct copy of images of

Seats.aero’s “System Status” page captured on July 2, 2023 and September 28, 2023, that were
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retrieved from the Internet Archive and annotated and a true and correct copy of an image of
Seats.aero’s “System Status” page captured on February 8, 2024.
I declare under penalty of perjury that the foregoing is true and correct.

Executed on February 8, 2024.

fob Fy
Jorfathan J. Fagan

